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                           IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA



   ELIZABETH SINES et al.                                  :       Case No. 3:17-cv-00072

                    Plaintiff                              :       Judge MOON


                                                           :
           -v-

   JASON KESSLER et al.                                    :

                                                           :
                    Defendants



                            DECLARATION OF JOHN A. DINUCCI


           Mr. John A. DiNucci, having been duly cautioned, declares and states as follows:

      1.         This declaration is based on personal knowledge.

      2.         Attached hereto are true copies of a) request for production of documents I served
                 on Plaintiff Tyler Magill on June 20, 2018; b) an email I sent to Plaintiff’s attorney
                 Gabrielle Tenzer on December 18, 2018 detailing deficiencies in discovery
                 responses, including those of Mr. Magill, and c) a letter I sent to Plaintiff’s
                 attorney Gabrielle Tenzer on January 21, 2019 specifically detailing Mr. Magill’s
                 failure to provide any medical records in responding to discovery.

      3.         To date, Mr. Magill has still not provided medical records in response to
                 properly issued discovery. For example, the undersigned Counsel has not
                 seen in any document production any records from any Hospital at which
                 Mr. Magill might have been treated for any of the injuries he allegedly
                 sustained or any report of any physician.

      4.         I cannot depose Mr. Magill until he has properly responded to discovery.

      I declare under penalty of perjury that the foregoing is true and correct. Executed on
      February 21, 2019.

                                                           s/ John A. DiNucci
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                                           John A. DiNucci
